            Case 1:20-cv-00219-WHA-CSC Document 12 Filed 09/11/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

MARCUS ANTONIO JONES, #203884,                )
                                              )
       Petitioner,                            )
                                              )
       v.                                     )   CIVIL ACT. NO. 1:20-cv-219-WHA
                                              )                  (WO)
CHARLES TIPTON, et al.,                       )
                                              )
       Defendants.                            )

                                            ORDER

       On June 22, 2020, the Petitioner filed a Motion for Leave of Court and Reconsider, Set-

aside, or Vacate Order Denying Petitioner Writ of Habeas Corpus (Doc. #10), which the court

construes as a notice of appeal containing a motion for leave to appeal in forma pauperis. (Doc.

#10-2). On September 3, 2020, the Petitioner filed a Motion for Status Update. (Doc. #11).

       Pursuant to 28 U.S.C. § 1915(a), “[a]n appeal may not be taken in forma pauperis if the

trial court certifies in writing that it is not taken in good faith.” In making this determination as

to good faith, the court must use an objective standard, such as whether the appeal is “frivolous,”

Coppedge v. United States, 369 U.S. 438, 445 (1962), or “has no substantive merit.” United States

v. Bottoson, 644 F.2d 1174, 1176 (5th Cir. Unit B 1981). Applying this standard, the court is of

the opinion, for the reasons stated in the Recommendation of the Magistrate Judge (Doc. #4),

which was adopted (Doc. #8), that the Petitioner’s appeal is without a legal or factual basis and,

therefore, is frivolous and not taken in good faith. See e.g. Rudolph v. Allen, 666 F.2d 519 (11th

Cir. 1982).

       Accordingly, it is ORDERED that Petitioner’s motion to proceed on appeal in forma
         Case 1:20-cv-00219-WHA-CSC Document 12 Filed 09/11/20 Page 2 of 2




pauperis is DENIED; and that the appeal in this cause is certified, pursuant to 28 U.S.C.A. §

1915(a), as not taken in good faith.

       It is further ORDERED that the Motion for Status Update (Doc. #11) is DENIED as moot.

       DONE this 11th day of September, 2020.

                                    /s/ W. Harold Albritton
                                   W. HAROLD ALBRITTON
                                   SENIOR UNITED STATES DISTRICT JUDGE
